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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                    v.                                  Magistrate’s No. 24-1794

 MOHAMAD HAMAD

                         GOVERNMENT’S PROPOSED MODIFICATION
                          TO CONDITIONS OF PRETRIAL RELEASE

               AND NOW, comes the United States of America, by its attorneys, Eric G. Olshan,

United States Attorney for the Western District of Pennsylvania, and Carolyn J. Bloch, Assistant

United States Attorney for said district, and submits the following Government’s Proposed

Modification to Conditions of Pretrial Release as follows:

       1.      On November 5, 2024, defendant filed a Motion to Hold an Evidentiary Hearing to

Amend Conditions of Pretrial Release. Doc. No. 28.

       2.      On November 6, 2024, the Honorable United States Magistrate Judge Kezia O. L.

Taylor, in connection with the scheduled Preliminary Hearing, conducted an evidentiary hearing

and considered defendant’s requests for modification of the conditions of release previously

imposed. At the conclusion of the hearing, the Court ordered the government to file proposed

revised language as to condition 7(u) of the Additional Conditions of Release. See Order Setting

Conditions of Release issued on October 30, 2024. Doc. No. 17.

       3.      The government proposes the following language:

               The defendant shall not possess, view, access, or otherwise use material that
       reflects extremist or terroristic views without the permission of the assigned
       probation officer. Extremist or terroristic material includes, but is not limited to
       websites, videos, magazines, articles, books, writings, photographs, pictures, and
       graphics produced by or in support of any Foreign Terrorist Organization (FTO),
       as designated under 8 U.S.C. § 1189, including HAMAS, or that supports the use
       of violence to intimidate or coerce a civilian population or a government. See
       state.gov/foreign-terrorist-organizations/. The defendant shall furthermore not use
       any platform that offers encrypted communications, including but not limited to
       Signal, Telegram, WhatsApp, and Gabb.
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       4.      Government counsel provided the above proposed revised language to counsel for

the defendant. Ms. Olaiya has advised that she objects, at least in part, to the proposed language.



                                                 Respectfully submitted,

                                                 ERIC G. OLSHAN
                                                 United States Attorney


                                                 /s/ Carolyn J. Bloch
                                          By:    CAROLYN J. BLOCH
                                                 Assistant U.S. Attorney
                                                 PA ID No. 53430
